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                                                                                              EDWARD J. O’CONNELL
                                                                                               1925-1939
                                                                                              SAMUEL E. ARONOWITZ
                                                                                               1925-1973
     October 9, 2019                                                                          LEWIS A. ARONOWITZ
                                                                                               1951-1979

     Hon. Daniel J. Stewart, U.S. Magistrate Judge                                            IN MEMORIAM
                                                                                              F. MATTHEW JACKSON
     James T. Foley U.S. Courthouse                                                            2013-2019

     445 Broadway - 4th Floor
     Albany, NY 12207                                                                         CORNELIUS D. MURRAY
                                                                                              STEPHEN R. COFFEY
                                                                                              JEFFREY J. SHERRIN
     Re:       John Doe v. Rensselaer Polytechnic Institute                                   THOMAS J. DINOVO
                                                                                              PAMELA A. NICHOLS
               1:19-CV-719 (DJS)                                                              JEFFREY A. SIEGEL
                                                                                              JAMI DURANTE ROGOWSKI
                                                                                              DAVID R. ROSS
     Dear Judge Stewart:                                                                      KURT E. BRATTEN
                                                                                              MICHAEL P. MCDERMOTT
                                                                                              KELLY J. MIKULLITZ
             We write, with the Defendant’s consent, to request additional time to advise     WILLIAM F. BERGLUND
     the Court of our selected mediator. The parties have agreed to Randolph Treece and       ROBERT J. KOSHGARIAN
                                                                                              MATTHEW J. DORSEY
     we have inquired whether he is interested. However, we were advised that Judge           GEORGE R. SLINGERLAND
     Treece is out of the office until October 15, which is the current deadline for the      SCOTT W. ISEMAN
                                                                                              BRITTNAY M. MCMAHON
     parties to notify the Court regarding the selected mediator. We therefore request an     DANIELLE E. HOLLEY
     extension to October 22nd to inform the Court of our selected mediator and provide the
     required stipulation and other information.                                                   SENIOR COUNSEL
                                                                                              FRED B. WANDER

               Thank you for your attention to this request.
                                                                                                   OF COUNSEL
                                                                                              RICHARD S. HARROW
                                             Very truly yours,                                MEREDITH H. SAVITT
                                                                                              PAUL A. FEIGENBAUM
                                                                                              ARTHUR A. PASQUARIELLO
                                             O’CONNELL AND ARONOWITZ                          FLORENCE M. RICHARDSON
                                                                                              CRISTINA D. COMMISSO
                                                                                              GRAIG F. ZAPPIA
                                             By:                                              DANIEL J. TUCZINSKI
                                                                                              KAREN MARTINO VALLE
                                                                                              ROLAND M. CAVALIER
                                                     Scott W. Iseman
                                                                                              CHAD A. JEROME
                                                                                              MICHAEL Y. HAWRYLCHAK
     cc:       All parties (ECF)                                                              MARY T. CONNOLLY
                                                                                              ANDREW KO
                                                                                              JULIA V. KOSINESKI

                                                                                              HOLLY E. VEGAS*
                                                                                              (DIRECTOR, HEALTHCARE
                                                                                              CONSULTING GROUP)

                                                                                              *NOT A MEMBER OF THE
                                                                                              LEGAL PRACTICE




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